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                       EXHIBIT 20
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          https://www.oneplus.com/us/9/specs




          https://www.qualcomm.com/content/dam/qcomm-martech/dm-
          assets/documents/prod brief qcom sd888 plus 5g final.pdf


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                                https://developer.arm.com/documentation/101433/0102/Functional-description/Introduction/About-the-core




                                  Security in an ARMv8-A System (https://developer.arm.com/documentation/100935/0100/Security-in-ARMv8-
                                  A-systems-?lang=en)
[1] (A) receiving a request from The system receives a request from a software program (such as a software application or OS) to access a
a software program to access a resource, such as a normal world resource or a secure world resource.
specified one of the plurality of
resources;




                                                              Page 4
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                                  Security in an ARMv8-A System at 5
[1] (B) determining whether the A determination is made whether the specified one of the plurality of resources is a protected resource. For
specified one of the plurality of example, whether the resource is in secure world or normal world.
resources is a protected
resource;




                                  Security in an ARMv8-A System at 5
[1] (C) if the specified one of   If the specified one of the plurality of resources is a protected resource (e.g., in secure world), the steps below are
the plurality of resources is a   performed.


                                                                    Page 5
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protected resource, performing
steps of:
[1(C)] (1) if the computer       If the computer system is operating in a protected mode of operation, then the request is denied regardless of
system is operating in a         access rights associated with the software program including software programs having a most-privileged level.
protected mode of operation,     For example, if the Secure Monitor Disable bit is set to disable, Secure Monitor Call (SMC) instructions, required
then denying the request         to access secure world resources, are disabled.
regardless of access rights
associated with the software
program including software
programs having a most-
privileged level; and




                                 Arm Architecture Reference Manual for A-Profile Architecture at D19.2.29
                                 (https://developer.arm.com/documentation/ddi0487/latest/)




                                                                 Page 6
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                               Arm Architecture Reference Manual for A-Profile Architecture at D19-6959.



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                               Arm Architecture Reference Manual for A-Profile Architecture at G1-9748-49.


[1(C)] (2) processing the      If the computer system is not operating in the protected mode of operation (e.g., SMD set to 0), then the request
request based on the access    is processed based on access rights associated with the software program.

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rights associated with the
software program if the
computer system is not
operating in the protected mode
of operation.




                                  Security in an ARMv8-A System at 5




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